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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                   Plaintiff,                CR. NO. 20-30205
      v.

JUSTIN SEAN JOHNSON,

                   Defendant.
                                        /

                                 APPEARANCE

      To the Clerk of the Court and all parties of record:

      Enter my appearance as Counsel in the case for Defendant. I certify that I

am admitted to practice in the Court.

                                             Respectfully Submitted,

                                             FEDERAL DEFENDER OFFICE


                                             s/ Benton Martin
                                             Attorney for Defendant
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                                             Detroit, Michigan 48226
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Date: June 18, 2020
